  Case 16-11006       Doc 35   Filed 01/19/18 Entered 01/19/18 13:45:21                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      16-11006
Michael W Griffin                            )
Julianne M Griffin                           )               Chapter: 13
                                             )
                                                             Honorable Janet S. Baer
                                             )
                                             )               Kane
               Debtor(s)                     )

                ORDER MODIFYING DEBTORS' PLAN POST-CONFIRMATION

       THIS MATTER coming to be heard on the Debtors' MOTION TO MODIFY PLAN, the Court
being advised in the premises, and due notice having been given to all parties in interest;

   IT IS HEREBY ORDERED THAT:

   The Debtors' current chapter 13 plan is modified post-confirmation to defer the current trustee
default to the end of the plan.




                                                          Enter:


                                                                   Honorable Janet S. Baer
Dated: January 19, 2018                                            United States Bankruptcy Judge

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